     Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21              Page 1 of 27 PageID 5



                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

JOHNATHAN MASON,                              §
    Plaintiff,                                §
                                              §
v.                                            §
                                              §       Civil Action No. 3:21-cv-1380
LYFT, INC. AND LYFT, INC. D/B/A               §
LYFT DRIVES TEXAS, INC.,                      §
      Defendants.                             §



        INDEX OF DOCUMENTS – EXHIBIT “A” TO NOTICE OF REMOVAL




        Pursuant to 28 U.S.C. § 1446(a) and Local Civil Rule 81.1(a), Defendants Lyft, Inc.

and Lyft, Inc. d/b/a Lyft Drives Texas, Inc. files this Index of Documents as Exhibit “A”

to its Notice of Removal. Attached is a copy of each document filed in the state court

action styled Johnathan Mason vs. Lyft, Inc. and Lyft, Inc. d/b/a Lyft Drives Texas, Inc.; Cause

No. CC-21-01905-B; in the County Court at Law No. 2, Dallas County, Texas.



     EXHIBIT                          DESCRIPTION                                  DATE
        1                          Plaintiff’s Original Petition                  2021.05.17
        2                         Issued Citation for Lyft, Inc.                  2021.05.18
        3         Issued Citation for Lyft, Inc. d/b/a Lyft Drives Texas, Inc.    2021.05.18
        4                       Affidavit of Service for Lyft, Inc.               2021.06.01
        5         Affidavit of Service for Lyft, Inc. d/b/a Lyft Drives Texas,    2021.06.01
                                                Inc.
        6                                  Docket Sheet                           2021.06.14




INDEX OF DOCUMENTS – EXHIBIT “A” TO NOTICE OF REMOVAL                                    PAGE 1
   Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21           Page 2 of 27 PageID 6



                                        Respectfully submitted,




                                        Bryan D. Pollard
                                        State Bar No. 00795592
                                        bryan.pollard@fisherbroyles.com
                                        Telephone: (214) 984-7153
                                        Katie M. Ackels
                                        State Bar No. 24078948
                                        katie.ackels@fisherbroyles.com
                                        Telephone: (469) 372-6484
                                        FISHERBROYLES, LLP
                                        4514 Cole Avenue, Suite 600
                                        Dallas, Texas 75205
                                        Facsimile: (214) 279-7192

                                        ATTORNEYS FOR DEFENDANT LYFT, INC.
                                        LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.


                               CERTIFICATE OF SERVICE

        On June 14, 2021, I electronically submitted the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. I hereby certify that I have served all counsel of record
electronically or by another manner authorized by the Federal Rules of Civil Procedure.




                                        Katie M. Ackels




INDEX OF DOCUMENTS – EXHIBIT “A” TO NOTICE OF REMOVAL                               PAGE 2
Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21   Page 3 of 27 PageID 7




                     EXHIBIT 1
                                                                                                                                FILED
                                                                                                                     5/17/2021 3:37 PM
                                                                                                                     JOHN F. WARREN
     Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                           Page 4 of 27 PageID 8                  COUNTY CLERK
                                                                                                                      DALLAS COUNTY




                                                  CAUS N0. CC-21-01905-B
JOHNATHAN MASON                                             §        1N   THE COUNTY COURT
                                                            §
                                                            §
VS.                                                         §        AT LAW NO. _
                                                            §
                                                            §
LYFT, INC. AND LYFT, INC. D/B/A                             §
LYFT DRIVES TEXAS, INC.                                     §        DALLAS COUNTY, TEXAS

                                             PLAINTIFF'S ORIGINAL PETITION

           Plaintiff Johnathan Mason ("Plaintiff") ﬁles this Original Petition complaining of

Defendant Lyft, Inc. and Lyft, Inc. d/b/a Lyft Drives Texas, Inc. ("Defendants") and for cause of

action states the following:

                                               DISCOVERY CONTROL PLAN
           Pursuant to Rules 190.1 and 190.3 of the Texas Rules of Civil Procedure, Plaintiff states

           that discovery in this cause is intended to be conducted under Level 3.




           Pursuant to Rules 216 and 217 of the Texas Rules of Civil Procedure, Plaintiff requests a

           jury trial of this matter. Accordingly, Plaintiff tenders the proper jury fee with the ﬁling

           of Plaintiffs Original Petition.

                                                        PARTIES
           Plaintiff Johnathan Mason is an individual residing in Dallas County, Texas. The last

           three digits       of his driver's license   are 899 and the last three digits   of his social security

           number are 299.

           Defendant Lyft, Inc. is a corporation that may be served through its registered agent              CT


Plaintiff's Original Petition - Page 1 of6
      Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                           Page 5 of 27 PageID 9




           Corporation System at 1999 Bryan St., Ste. 900 Dallas, Texas 75201.

           Defendant Lyft, Inc. d/b/a Lyft Drives Texas, Inc. is a corporation that may be served

           through its registered agent             CT Corporation System   at 1999 Bryan St., Ste. 900 Dallas,

           Texas 75201.

                                               VENUE AND JURISDICTION

           Venue is proper in this Court by Virtue of Tex. Civ. Prac. & Rem. Code §15.002(a).

           Furthermore, this Court has jurisdiction in that the damages being sought are within the

           jurisdictional limits of this Court.



           This lawsuit is based on a motor vehicular collision occurring on or about September 20,

           2019, at or near the intersection of Walnut Hill Lane and Boedecker Road in Dallas,

           Texas (hereinafter referred to as "The Collision").

           Plaintiff was a backseat passenger in a Lyft vehicle that was arranged through the Lyft

           application, when Defendants’ driver rear-ended another vehicle causing severe injuries

           and damages to Plaintiff.

           Defendants’ driver was acting in the course and scope of his employment with

           Defendants at the time of the crash.

10.        The Collision was proximately caused by the negligence and / or negligence per se of the

           Defendants.

                                                    CAUSES 0F ACTION

                                             Negligence and / or Negligence Per Se

11.        At    the time        of The Collision, Defendants’ employee/driver was negligent and / or

Plaintiff's Original Petition - Page 2 of6
    Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                       Page 6 of 27 PageID 10




           negligent per se in one or more of the following particulars:

           a.          In failing to keep such a lookout as a person of ordinary prudence would have
                       kept under the same or similar circumstances;
           b.          In failing to timely apply the brakes of the vehicle in order to avoid the collision
                       in question;
           c.          In driving a vehicle at a rate of speed which was greater than that which an
                       ordinarily prudent person would have driven under the same or similar
                       circumstances;
           d.          In failing to yield the right-of—way;
           e.          In failing to maintain his vehicle under control;
           f.          In following too closely;
           g.          In disregarding trafﬁc signals;
           h.          In failing to take proper evasive action;
           i.          In driving while inattentive;
           j.          In driving while looking at his cell phone, texting, emailing, or otherwise using a
                       cellular device which diverted his attention from the road in front of him; and
           k.          In violating Texas Transportation Code Sections 545.062 (following distance),
                       545.351 (maximum speed requirement), and 545.4251 (use of portable wireless
                       communication device for electronic messaging).

12.        At the     time    of The Collision, Defendants’ employee/driver was acting in   the course and


           scope of his employment with Defendant Lyft, Inc. and / or Lyft, Inc. d/b/a        Lyft Drives

           Texas, Inc. As a result, Defendant Lyft, Inc. and / or Lyft, Inc. d/b/a Lyft Drives Texas,

           Inc. are legally liable for the acts and omissions of negligence of their employee under

           the doctrine       of respondeat superior.

l3.        Defendants Lyft, Inc. and / or Lyft, Inc. d/b/a Lyft Drives Texas, Inc. were negligent in

           hiring their employee as a driver and negligent in allowing him to continue driving

           vehicles for them when they reasonably should have known that it was unsafe to do so.

           These Defendants were also negligent in the training of its training and the safety and

           operation of its ﬂeet. Such negligence, singularity or in combination with others,

           proximately caused The Collision.



Plaintiff's Original Petition - Page 3 of6
    Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                               Page 7 of 27 PageID 11




14.        Each of the foregoing acts or omissions, singularly or in combination with others,

           constituted negligence and / or negligence per se, which proximately caused The

           Collision and Plaintiff‘s injuries and damages.

                                        PERSONAL INJURIES AND DAMAGES

15.         As a result of Defendant's negligent actions, Johnathan Mason suffered personal injuries.

           Consequently, Johnathan Mason seeks recovery of the following damages:

           a.          Medical Expenses: Johnathan Mason incurred bodily injuries which were caused
                       by The Collision and Johnathan Mason incurred medical expenses for treatment
                       of such injuries. Johnathan Mason believes that, in reasonable medical
                       probability such injuries will require the need for future medical care.

                       Physical Pain: Johnathan Mason endured physical pain as a result of the personal
                       injuries sustained in The Collision and reasonably anticipates such pain will
                       continue in the future.

                       Mental Anguish: Johnathan Mason endured mental anguish as a result of the
                       personal injuries sustained in The Collision and reasonably anticipates such
                       mental anguish will continue in the future.

                       Disﬁgurement: Johnathan Mason endured disﬁgurement as a result of the
                       personal injuries sustained in The Collision and reasonably anticipates such will
                       continue in the future.

                       Impairment: Johnathan Mason endured physical impairment as a result of the
                       personal injuries sustained in The Collision and reasonably anticipates such in the
                       future.

                       Loss of Earning Capacity: Johnathan Mason lost wages as a result of the personal
                       injuries sustained in The Collision. Johnathan Mason reasonably believes that
                       such injuries will diminish Johnathan Mason's earning capacity in the future.

                                                       AGGRAVATION

l6.        In the alternative,          if it be   shown that the Plaintiff suffered from any pre-existing injury,

           disease and/or condition at the time of the incident made the basis of the lawsuit, then



Plaintiff's Original Petition - Page 4 of6
    Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                              Page 8 of 27 PageID 12




           such injury, disease and/or condition was aggravated and/or exacerbated by the

           negligence of the Defendant.

                                                     U.S. LIFE TABLES

17.        Notice is hereby given to the Defendant that Plaintiff intends to use the U. S. Life Tables

           as published by the Department              of Health and Human Services - National Vital Statistics

           Report in the trial of this matter. Plaintiff requests that this Honorable Court take judicial

           notice of those rules, regulations, and statutes of the United States and the State of Texas,

           pursuant to Texas Rule of Evidence 201 and 1005.

                                                     RELIEF SOUGHT
18.        Pursuant to Texas Rules of Civil Procedure 193.7, notice is hereby given of the intention

           to use any        of the documents exchanged and/or produced between any party during                  the

           trial of this case.         All   conditions precedent to Plaintiffs right to recover the relief sought

           herein have occurred or have been performed.

19.        As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiff states that                       the


           damages sought are in an amount within the jurisdictional limits of this Court.                        As

           required by Rule 47(c), Texas Rules of                 Civil Procedure, Plaintiff   states that   Plaintiff

           seeks monetary relief in excess of $250,000, but less than $1,000,000.              As discovery takes

           place and testimony is given, Plaintiff will be in a better position to give the maximum

           amount       of damages sought.

20.        Plaintiff requests that Defendant be cited to appear and answer, and that this case be tried

           after which Plaintiff recover:

           a.          Judgment against Defendant for a sum within the jurisdictional limits of this


Plaintiff's Original Petition - Page 5 of6
    Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                        Page 9 of 27 PageID 13




          b.c.d.e.     Court for the damages set forth herein;
                       Pre-judgment interest at the maximum amount allowed by law;
                       Post-judgment interest at the maximum rate allowed by law;
                       Costs of suit; and
                       Such other and further relief to which Plaintiff may be justly entitled.

                                                              Respectfully submitted,

                                                              REYES   |
                                                                          BROWNE |REILLEY


                                                               /s/ Spencer P. Browne
                                                              Spencer P. Browne
                                                              State Bar No. 240405 89
                                                              Hussain Ismail
                                                              State Bar No. 24087782
                                                              8222 Douglas Avenue, Suite 400
                                                              Dallas, TX 75225
                                                              (214) 526-7900
                                                              (214) 526-7910 (FAX)
                                                              spencer@reyeslaw.com
                                                              hussain@reyeslaw.com

                                                              ATTORNEYS FOR PLAINTIFF




Plaintiff's Original Petition - Page 6 of6
Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21   Page 10 of 27 PageID 14




                      EXHIBIT 2
                               Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                             Page 11 of 27 PageID 15

                                                                                                                                               ATTORNEY
                                  THE STATE OF TEXAS                                                                                           CITATION
                                      CITATION                                                                                      PLAINTIFF'S ORIGINAL PETITION
                                    CAUSE NO. CC-21-01905—B                                                                                 CC-21-01905-B
                                  COUNTY COURT AT LAW NO.           2
                                         Dallas County, Texas                                                                      IN THE COUNTY COURT OF DALLAS
                                                                                                                                         County Court at Law No. 2
TO:                                                                                                                                       Dallas County, Texas
        LYFT, INC.
        CT CORPORATION SYSTEM REGISTERED AGENT                                                                                       JOHNATHAN MASON, Plaintiﬂ(s)
        1999 BRYAN ST STE 900
        DALLAS TX 75201                                                                                                                             VS.
      “You have been sued. You may employ an attorney. If you or your Attorney do not ﬁle a WRITTEN ANSWER with
      the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you         LYFT, INC.; LYFT, INC. D/B/A LYFT
      were served this citation and PLAINTIFF‘S ORIGINAL PETITION, a default judgment may be taken against you. In
                                                                                                                                     DRIVES TEXAS, INC, Defendant(s)
      addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other parties of
      this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with the clerk. Find     SERVE:
      out more at TexasLawHelp.org.” Your answer should be addressed to the clerk of County Court at Law No. 2 of Dallas                        LYFT, INC.
      County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                           CT CORPORATION SYSTEM
                                                                                                                                         REGISTERED AGENT
                                                                                                                                        1999 BRYAN ST STE 900
                                                                                                                                          DALLAS Tx 75201
                                              J OHNATHAN MASON
                                                     Plaintiﬂ(s)                                                                             ISSUED THIS
                                                                                                                                        18TH DAY OF MAY, 2021
                                                        VS.
                                                                                                                                    JOHN F. WARREN, COUNTY CLERK
                        LYFT, INC.; LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.                                                        BY: GUISLA HERNANDEZ, DEPUTY
                                                    Defendant(s)
                                                                                                                                            Attorney for Plaintiﬂ‘
      ﬁled in said Court on the 17th day of May, 2021, a copy of which accompanies this citation.                                           SPENCER P BROWNE
                                                                                                                                            8222 DOUGLAS AVE
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                                SUITE 400
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 18th day of May, 2021 A.D.                                                 DALLAS TX      75225
                                                                                                                                               214-526-7900
      JOHN F. WARREN, Dallas County Clerk
                                                                          {11595;

       By
            5M4 #Walj,                         Deputy
                                                                                                                                       NOOHHM‘SFEESHAVEBEEN
                                                                                                                                    mLLECTEDBYDALWmUNTYORK
               Guisla Hernandez
                                   Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                   Page 12 of 27 PageID 16


                                                                           OFFICER’S RETURN
CC-21-01905-B County Court at Law No. 2

JOHNATHAN MASON vs. LYFT, INC., LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.

ADDRESS FOR SERVICE:
CT CORPORATION SYSTEM REGISTERED AGENT
1999 BRYAN ST STE 900
DALLAS TX 75201

Fees:
Came to hand on the         day of                   , 20        , at     o’clock      .m., and executed in          County, Texas by delivering to LYFT, INC.
in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFF'S ORIGINAL PETITION with the date and service at the following times
and places to—wit:

Name                                                    Date/Time                          Place, Course and Distance from Courthouse




And not executed as to the defendant(s),

The diligence used in ﬁnding said defendant(s) being:


and the cause or failure to execute this process is:



and the information received as to the whereabouts of said defendant(s) being:



                                               Serving Petition and Copy         $                                                    ,   Ofﬁcer

                                               Total    $                                                                    ,   County, Texas

                                                                                            By:                                       a   DCPUty

                                                                                                                                      ,   Afﬁant
Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21   Page 13 of 27 PageID 17




                      EXHIBIT 3
                               Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                              Page 14 of 27 PageID 18          ATTORNEY
                                  THE STATE OF TEXAS                                                                                          CITATION
                                      CITATION                                                                                      PLAINTIFF'S ORIGINAL PETITION
                                    CAUSE NO. CC-21-01905—B                                                                                 CC-21-01905-B
                                  COUNTY COURT AT LAW NO.            2
                                          Dallas County, Texas                                                                     IN THE COUNTY COURT OF DALLAS
                                                                                                                                         County Court at Law No. 2
TO:                                                                                                                                       Dallas County, Texas
        LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.
        SERVE ITS REGISTERED AGENT: CT CORPORATION SYSTEM REGISTERED AGENT                                                           JOHNATHAN MASON, Plaintiﬂ(s)
        1999 BRYAN ST STE 900
        DALLAS TX 75201
                                                                                                                                                   VS.

      “You have been   sued.  You may employ an attorney. If you or your Attorney do not ﬁle a WRITTEN ANSWER with                  LYFT, INC.; LYFT, INC. D/B/A LYFT
                                                                                                                                     DRIVES TEXAS, INC, Defendant(s)
      the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days aﬁer you
      were served this citation and PLAINTIFF‘S ORIGINAL PETITION, a default judgment may be taken against you. In
      addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other parties of   SERVE:
      this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with the clerk. Find       LYFT, INC. D/B/A LYFT DRIVES
      out more at TexasLawHelp.org.” Your answer should be addressed to the clerk of County Court at Law No. 2 of Dallas                      TEXAS, INC.
      County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                        SERVE ITS REGISTERED AGENT: CT
                                                                                                                                       CORPORATION SYSTEM
                                                                                                                                         REGISTERED AGENT
                                                                                                                                        1999 BRYAN ST STE 900
                                              JOHNATI-IAN MASON                                                                            DALLAS TX 75201
                                                      Plaintiﬂ(s)
                                                                                                                                             ISSUED THIS
                                                         VS.                                                                            18TH DAY OF MAY, 2021

                         LYFT, INC.; LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.                                                       JOHN F. WARREN, COUNTY CLERK
                                                    Defendant(s)                                                                    BY: GUISLA HERNANDEZ, DEPUTY

      ﬁled in said Court on the 17th day of May, 2021, a copy of which accompanies this citation.                                          Attorney for Plaintiff
                                                                                                                                          SPENCER P BROWNE
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                         8222 DOUGLAS AVE
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 18th day of May, 2021 A.D.                                                     SUITE 400
                                                                                                                                           DALLAS TX 75225
      JOHN F. WARREN, Dallas County Clerk                                                                                                     214-526-7900

                                                                             31,906
       By gal/L/Qw       #Wgéq
               Guisla Hernandez
                                                Deputy                                                                                 NOOHHM‘SFEESHAVEBEEN
                                                                                                                                     mLLECIEDBYDALLASWUNTYOﬂK



                                                                      its 41.91“}
                                   Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                 Page 15 of 27 PageID 19
                                                                           OFFICER’S RETURN
CC-21-01905-B County Court at Law No. 2

JOHNATHAN MASON vs. LYFT, INC., LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.

ADDRESS FOR SERVICE:
SERVE ITS REGISTERED AGENT: CT CORPORATION SYSTEM REGISTERED AGENT
1999 BRYAN ST STE 900
DALLAS TX 75201
Fees:
Came to hand on the day of                 , 20          , at       o’clock       .m., and executed in              County, Texas by delivering to LYFT, INC.
D/B/A LYFT DRIVES TEXAS, INC. in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFF'S ORIGINAL PETITION with the
date and service at the following times and places to-wit:

Name                                                    Date/Time                        Place, Course and Distance from Courthouse




And not executed as to the defendant(s),

The diligence used in ﬁnding said defendant(s) being:


and the cause or failure to execute this process is:



and the information received as to the whereabouts of said defendant(s) being:



                                               Serving Petition and Copy         $                                                 ,   Ofﬁcer

                                               Total    $                                                                 ,   County, Texas

                                                                                         By:                                       ,   Deputy

                                                                                                                                   ,   Afﬁant
Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21   Page 16 of 27 PageID 20




                      EXHIBIT 4
                                                                                                                                                                       FILED
                                                                                                                                                             6/1/2021 6:20 PM
                                                                                                                                                           JOHN F. WARREN
                       Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                                                 Page 17 of 27 PageID 21              COUNTY CLERK
                                                                                                                                                            DALLAS COUNTY

                                                                    AFFIDAVIT OF SERVICE

  State of Texas                                                              County of Dallas                                         County Court No. 2 Court
  Case Number: 0021019053

  Plaintiff:
 JOHNATHAN MASON
                                                                                                                                       FWT2021001248
 vs.
 Defendant:
 LYFT, INC. AND                    LYFT, INC. DIBIA LYFT DRIVES TEXAS, INC.
 For:
 Spencer P. Browne
 REYES BROWNE
 8222 Douglas Ave.
 Suite 400
 Dallas, TX 75225

Received by Alliance Civil Process, Inc. on the 18th day of May, 2021 at 1:28 pm to be served on LYFT, INC. BY DELIVERING
TO REGISTERED AGENT CT CORPOATION SYSTEM, 1999 BRYAN STREET, SUITE 900, DALLAS, TX 75201.

 I.   Monty R. Crabb. being duly sworn, depose and say that on the 19th day of May, 2021 at 1:25 am, l:

delivered a true copy of the CITATION AND PLAINTIFF'S ORIGINAL PETITION with the date of service endorsed thereon
                                                                                                                  by
me, to:



LYFT, INC. BY DELIVERING TO REGISTERED AGENT CT CORPOATION SYSTEM
by delivering to AALIYAH WAMSKY in person as AUTHORIZED AGENT at the address of: 1999 BRYAN                                                STREET, SUITE
900, DALLAS, TX 75201. who stated they are authorized to accept service.



l certify that l am over the age of 18, have no interest in the above
                                                                      action. and am authorized by written order of the court to
serve citation and other notices. l have personal knowledge of the facts stated above and declare under
                                                                                                            penalty of perjury that
each is true and correct.




Subscribed and Sworn t before rne on the
                                                           &9_
of
        onall             n0
                                      $3?
                                    me.
                                               day
                             by the afﬁant who is
                                                                                                      PSC-378:
                                                                                                                R. Cra
                                                                                                                           7/31/2022

                                                                                                     Alliance Civil Process, Inc.
         ARY                                                                                         136 W. McLeroy Blvd., Ste. A
                                                                                                     Saginaw, TX 76179
           \                       SHERRY ROBERSON                                                   (817) 306-4150
           4952."!9/




               39:21:],
                       s; 3(\e\\
      “um",I




               ‘-.. ’:_Notary Public. State of Texas
             g                                                                                       Our Job Serial Number: FWT-2021001248
       I
        ’I or 1“
                            ‘
                3.7:: Comm. Expires 01-07-2025
                                                                                                     Ref: 2005198431
                          Notary ID 124041035
          s




          ’Irmm‘                                                                                     Service Fee:                5‘"

                                                 Copyrigrl Q 1992-2021 Datdmse Services, Inc. - Process Server's Toolbox V8.12
                                                                                                                                                                      Electronically Served
                            Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                                Page 18 of 27 PageID 22                                     5/18/2021 9:18 AM




                                                                                                                                                ATTORNEY
                                 THE STATE OF TEXAS                                                                                             CITATION
                                     CITATION                                                                                       PLAINTIFF'S ORIGINAL PETITION
                                   CAUSE N0. CC-21-01905-B                                                                                 CC-21-01905-B
                                 COUNTY COURT AT LAW NO.            2
                                         Dallas County, Texas
                                                                                                                                   IN THE COUNTY COURT 0F DALLAS
TO:                                                                                                                                      County Court at Law No. 2
        LYFI‘, INC.                                                                                                                       Dallas County, Texas
        CT CORPORATION SYSTEM REGISTERED AGENT
        1999 BRYAN ST STE 900                                                                                                        JOI-INATHAN MASON, Plaintiﬂﬁs)
        DALLAS TX 75201
                                                                                                                                                      VS.
      “You have been    sued. You may employ an attorney. If you or your
                                                                            Attorney do not ﬁle a WRITTEN ANSWER wiﬂx
      the clerk who issued this citation by 10:00 A.M. on the                                                                       LYFT, 1NC.; LYFT, INC. D/B/A LYFT
                                                              Monday next following the expiration of twenty days aﬁer you
      were served this citation and PLAINTIFF'S ORIGINAL PETITION, a deﬁult
                                                                                     judgment may be taken against you. In
                                                                                                                                     DRIVES TEXAS, INc., Defendma)
      addition to ﬁling a written answer with the clerk, you
                                                             may be required to make initial disclosures to the other parties of
      this suit. These disclosures generally must be made no later than 30
                                                                           days aﬁer you ﬁle your answer with the clerk. Find      SERVE:
      out more at TexasLawHelp.org.” Your answer should be addressed to the clerk of
                                                                                           County Court at Law No. 2 of Dallas               LYFI', INC.
      County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                           CT CORPORATION SYSTEM
                                                                                                                                         REGISTERED AGENT
                                                                                                                                         1999BRYAN ST STE 900
                                                                                                                                            DALLAS TX 75201
                                              JOHNA'II-IAN MASON
                                                     Plaintzﬂﬂs')                                                                            ISSUED I H IS
                                                                                                                                        18TH DAY OF MAY, 2021
                                                        VS.
                                                                                                                                    JOHN F. WARREN, COUNTY CLERK
                        LYFl‘, INC.; LYIIT, INC. D/BIA LYFT DRIVES TEXAS, INC.                                                      BY: GUISLA HERNANDEZ, DEPUTY
                                                   Defendant(s)

      ﬁled in said Court on the 17th day of May, 2021, a copy of which                                                                       Attorney for Plaintiﬂ'
                                                                       accompanies this citation.                                           SPENCER P BROWNE
                                                                                                                                            8222 DOUGLAS AVE
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                                SUITE 400
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 18th
                                                                      day of May, 2021 A.D.                                                 DALLAS TX     75225
      JOHN F. WARREN, Dallas County Clerk                                                                                                       214-526-7900



      By
         yam/5L          #W
              Guisla Hernandez
                                               Deputy
                                                                        {3’5    501:2}

                                                                                                                                       N0 OFFKBR’S
                                                                                                                                    {ELECTED
                                                                                                                                                       FEB HAVE BEEN
                                                                                                                                                BY DALLAS   mum CLERK
                                                                                       I:
                                                                                     '3
                                                                               her?
                                Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                       Page 19 of 27 PageID 23


                                                                               OFFICER’S RETURN
CC-21-01905-B County Court at Law No. 2

JOHNATHAN MASON vs. LYFT, INC., LYFT, INC. D/B/A LYFT DRIVES TEXAS, NC.

ADDRESS FOR SERVICE:
CT CORPORATION SYSTEM REGISTERED AGENT
1999 BRYAN ST STE 900
DALLAS TX 75201

Fees:
Came to hand on the         day of                   , 20        , at     o’clock      .m., and executed in
in person, a true copy of this Citation together with the                                                            County, Texas by delivering to LYFT, INC.
                                                          accompanying copy of the PLAINTIFF'S ORIGINAL PETITION with the date and service at the
and places to-wit:                                                                                                                                following times

Name                                                     Date/Time                         Place, Course and Distance from Courthouse




And not executed as to the defendant(s),

The diligence used in ﬁnding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts     of said defendant(s) being:


                                               Serving Petition and Copy             $                                                ,   Ofﬁcer

                                               Total     $
                                                                                                                             ,   County, Texas

                                                                                           By:                                        ,   Deputy

                                                                                                                                      ,   Afﬁant
Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21   Page 20 of 27 PageID 24




                      EXHIBIT 5
                                                                                                                                                                                FILED
                                                                                                                                                                      6/1/2021 6:21 PM
                                                                                                                                                                    JOHN F. WARREN
                        Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                                                       Page 21 of 27 PageID 25                COUNTY CLERK
                                                                                                                                                                     DALLAS COUNTY


                                                                           AFFIDAVIT 0F SERVICE

    State of Texas                                                                   County of Dallas                                           County Court No. 2 Court
     Case Number: 0021019053

     Plaintiff:
    JOHNATHAN MASON                                                                                                                             FWT2021DU1249
    vs.
    Defendant:
    LYFT, INC. AND LYFT, INC. DIBIA LYFT DRIVES TEXAS, INC.
    For:
    Spencer P. Browne
    REYES BROWNE
    8222 Douglas Ave.
    Suite 400
    Dallas, TX 75225

    Received by Alliance Civil Process. Inc. on the 18th day of May, 2021 at 1:28 pm to be served on LYFT, INC. DIBIA LYFT
DRIVES TEXAS, INC. BY DELIVERING To REGISTERED AGENT CT CORPOATION SYSTEM, 1999 BRYAN STREET,
SUITE 900, DALLAS, TX 75201.

    I,   Monty R. Crabb. being duly sworn, depose and say that on the 19th day of May, 2021 at 1:25 am, l:

delivered a true copy of the CITATION AND PLAINTIFF'S ORIGINAL PETITION with the date of service endorsed thereon by
me, to:



LYFT, INC. D/BIA LYFT DRIVES TEXAS, INC. BY DELIVERING TO REGISTERED AGENT CT CORPOATION SYSTEM
by delivering to AALIYAH WAMSKY in person as AUTHORIZED AGENT at the address of: 1999 BRYAN                                                         STREET, SUITE
900, DALLAS, TX 75201, who stated they are authorized to accept service.



|
 certify that am over the age of 18, have no interest in the above action, and am authorized by written order of the court to
                                I

serve citation and other notices. have personal knowledge of the facts stated above and declare under penalty of perjury that
                                                     I

each is true and correct.




Subscribed and Sworn to before me on the
of
                                                day
                              by the afﬁant who is
                                                                   ﬂL
                                                                                                                   R. Cra
  rsonall nown to me.                                                                                        PSC-378: Ex 7/31/2022

                                                                                                             Alliance Civil Process, Inc.
         TAR                    BLIC                                                                         136 W. McLeroy Blvd., Ste. A
                                                                                                             Saginaw, TX 76179
                       ll I H                                                                                (817) 306-4150
                “‘“Y  Pg”)              SHERRY ROBERSON
           s‘“)5 II”




                  P:.0.-..
                       '        “‘4_Notary Public.
                                             State of Texas
              \I "I”




               $5.?"
                                                                                                             Our Job Serial Number: FWT-2021001249
                         9
                ,,;. _____ .5’5
                   mu“ fOF‘
                                Comm.  Expires 01 =07 2025
                                  Notary ID 124041036
                                                                                                             Ref: 20051984311
                 -.‘




                                                                                                             Service Fee:                ”IS.

                                                         Copyright 0 1992-2021 Database Services, Inc. - Process Servers Toolbox V8.12
                                                                                                                                                                    Electronically Served
                                                                                                                                                                      5/18/2021 9:18 AM
                            Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                                Page 22 of 27 PageID 26
                                                                                                                                              ATTORNEY
                                  THE STATE OF TEXAS                                                                                          CITATION
                                      CITATION                                                                                      PLAINTIFFS ORIGlNAL PETITION
                                    CAUSE NO. CC-21-01905—B                                                                                CC-21-01905-B
                                  COUNTY COURT AT LAW NO.           2
                                         Dallas County, Texas
                                                                                                                                    IN THE COUNTY COURT OF DALLAS
T0:                                                                                                                                       County Court at Law No. 2
                                                                                                                                         Dallas County, Texas
        LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.
        SERVE ITS REGISTERED AGENT: CT CORPORATION SYSTEM REGISTERED AGENT
        1999 BRYAN ST STE 900                                                                                                        JOHNATHAN MASON, Plainnms)
        DALLAS TX 75201
                                                                                                                                                   vs.
      “You have been    sued. You may employ an attorney. If you or your Attorney do not ﬁle a WRITTEN ANSWER with                  LYFT, INC; LYFT, lNC. D/B/A LYFT
      the clerk who issued this citation by 10:00 A.M. on the Monday next
                                                                            following the expiration of twenty days aﬁer you
                                                                                                                                     DRIVES TEXAS, INC, Defendant(s)
      were served this citation and PLAINTIFF'S ORIGINAL PETITION, a
                                                                              defaultjudgment may be taken against you. In
      addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other
                                                                                                                      parties of   SERVE:
      this suit. These disclosures generally must be made no later than 30 days aﬁer you ﬁle                                         LYFT, INC. D/B/A LYFT DRIVES
                                                                                              your answer with the clerk. Find
      out more at TexasLawHelp.org.” Your answer should be addressed to the clerk of
                                                                                           County Court at Law No. 2 of Dallas                 TEXAS, INC.
      County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                        SERVE IT S REGISTERED AGENT: CT
                                                                                                                                       CORPORATION SYSTEM
                                                                                                                                         REGISTERED AGENT
                                                                                                                                        1999 BRYAN ST STE 900
                                              JOHNATHAN MASON                                                                              DALLAS TX 75201
                                                     Plaintms)
                                                                                                                                              ISSUED THIS
                                                        VS.                                                                             18TH DAY 0F MAY, 2021
                        LYFT, INC.; LYFT, INC. D/B/A LYFI‘ DRIVES TEXAS, MC.                                                        JOHN F. WARREN, COUNTY CLERK
                                                    Defendant(s)                                                                    BY: GUISLA HERNANDEZ, DEPUTY
      ﬁled in said Court on the 17th day of May, 2021 , a copy of which accompanies this citation.
                                                                                                                                           Attorney for Plaintiﬂ'
                                                                                                                                          SPENCER P BROWNE
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                         8222 DOUGLAS AVE
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 18th day of May, 2021 A.D.                                                     SUITE 400
      JOHN F. WARREN, Dallas County Clerk
                                                                                                                                           DALLAS TX 75225
                                                                                                                                              214-526-7900


       By gum/4a         74W
               Guisla Hernandez
                                               Deputy
                                                                           3195
                                                                                                                                        N0   WERE    FEES HAVE BEEN
                                                                                                                                               EY BALEAS COUNTY      W
                                                                             .6?

                                                                     £5»
                                                                       5. am
                                Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                           Page 23 of 27 PageID 27
                                                                               OFFICER’S RETURN
CC-21—01905-B County Court at Law No. 2

IOHNATHAN MASON vs. LYFI‘, lNC., LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.

ADDRESS FOR SERVICE:
SERVE ITS REGISTERED AGENT: CT CORPORATION SYSTEM REGISTERED AGENT
1999 BRYAN ST STE 900
DALLAS TX 75201
Fees:
Came to hand on the          day of                 ., 20          , at       o’ clock     .m., and executed in               County, Texas by delivering to LYFT, INC.
D/B/A   LYFT DRIVES TEXAS,         INC. in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFFS ORIGINAL PETITION with the
date and service at the following times and places to-wit:

Name                                                     Date/'1‘ ime                           Place, Course and Distance from Courthouse




And not executed as to the defendant(s),

The diligence used in ﬁnding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts     of said defendant(s) being:


                                               Serving Petition and Copy             $                                                     ,   Ofﬁcer

                                               Total     $                                                                        ,   County, Texas

                                                                                                By:                                        , Deputy

                                                                                                                                           9   Amant
Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21   Page 24 of 27 PageID 28




                      EXHIBIT 6
Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21                  Page 25 of 27 PageID 29




Case Information

CC-21-01905-B | JOHNATHAN MASON vs. LYFT, INC., LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.

Case Number                       Court                             Judicial Officer
CC-21-01905-B                     County Court at Law No. 2         BELLAN, MELISSA
File Date                         Case Type                         Case Status
05/17/2021                        DAMAGES (COLLISION)               OPEN




Party

PLAINTIFF                                                           Active Attorneys 
MASON, JOHNATHAN                                                    Lead Attorney
                                                                    BROWNE, SPENCER P
                                                                    Retained




DEFENDANT
LYFT, INC.

Address
CT CORPORATION SYSTEM, REGISTERED AGENT
1999 BRYAN ST., STE. 900
DALLAS TX 75201




DEFENDANT
LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.

Address
CT CORPORATION SYSTEM, REGISTERED AGENT
1999 BRYAN ST., STE. 900
DALLAS TX 75201
Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21        Page 26 of 27 PageID 30




Events and Hearings


 05/17/2021 NEW CASE FILED (OCA)


 05/17/2021 ORIGINAL PETITION 


 PLAINTIFF'S ORIGINAL PETITION


 05/17/2021 ISSUE CITATION 


 ISSUE CITATION

 ISSUE CITATION

   Comment
   E-SERVE ENV# 53537850


 05/17/2021 JURY TRIAL DEMAND


 05/18/2021 CITATION (SERVICE) 


 Served
 05/19/20211:25 AM

 Anticipated Server
 ATTORNEY

 Anticipated Method
 Actual Server
 PRIVATE PROCESS SERVER

 Returned
 06/01/2021 6:20 PM
 Served
 05/19/20211:25 AM

 Anticipated Server
 ATTORNEY

 Anticipated Method
 Actual Server
 PRIVATE PROCESS SERVER

 Returned
 06/01/2021 6:21 PM


 06/01/2021 RETURN OF SERVICE 


 RETURN OF SERVICE LYFT INC DBA LYFT DRIVES TEXAS INC
Case 3:21-cv-01380-G Document 1-1 Filed 06/14/21
   Comment                                                    Page 27 of 27 PageID 31
    RETURN OF SERVICE LYFT INC DBA LYFT DRIVES TEXAS INC SERVED 05/19/2021 1:25 AM
    RETURNED 06/01/2021 6:21 PM


  06/01/2021 RETURN OF SERVICE 


  RETUFN OF SERVICE LYFT INC

    Comment
    RETUFN OF SERVICE LYFT INC SERVED 05/19/2021 1:25 AM RETURNED 06/01/2021 6:20 PM




Financial

MASON, JOHNATHAN
    Total Financial Assessment                                                         $325.00
    Total Payments and Credits                                                         $325.00


 5/17/2021   Transaction Assessment                                                $325.00

 5/17/2021   CREDIT CARD - TEXFILE    Receipt # CV-2021-      MASON,             ($325.00)
             (CC)                     04839                   JOHNATHAN




Documents


  PLAINTIFF'S ORIGINAL PETITION

  ISSUE CITATION
  ISSUE CITATION
  RETURN OF SERVICE LYFT INC DBA LYFT DRIVES TEXAS INC
  RETUFN OF SERVICE LYFT INC
